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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division



RENEE GALLOWAY, ET AL.,


      Plaintiffs,

V.                                            Civil Action No. 3:18-cv-406



BIG PICTURE LOANS, LLC,
ET AL.,


      Defendants.


                             MEMORANDUM OPINION


      This matter is before the Court on Defendant MATT MARTORELLO'S

{"MARTORELLO")      MOTION    TO    DISMISS     FOR   IMPROPER   VENUE   OR,

ALTERNATIVELY, TO TRANSFER VENUE (ECF No. 676) ("the Motion"). The

matter was fully briefed and a hearing was held on November 16,

2023. Having considered the Motion, the memorandum in support, and

the response and reply memoranda, and for the reasons set out on

the record during that hearing, and as set forth below, the Motion

is hereby denied.


                                   BACKGROUND


I. Factual and Procedural History

       On June 11, 2018, Plaintiffs Renee Galloway, Dianne Turner,

Earl Browne, Rose Marie Buchert, Regina Nolte, Teresa Titus, and

Kevin Minor, on behalf of themselves and all individuals similarly

situated, filed this proposed Class Action Complaint against
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Defendants Big Picture Loans, LLC ("Big Picture")/                  Ascension

Technologies, Inc. ("Ascension"), and Martorello. EOF No. 1. The

Complaint set out that the plaintiffs were from, respectively,

Virginia,    Virginia,   California,      Illinois,      Indiana,   Ohio,   and

Washington, and that they aimed to represent borrowers in their

respective states. ECF No. 1 at Iff 89-115. On August 23, 2018, the

plaintiffs filed a First Amended Class Action Complaint adding two

additional Virginia plaintiffs, one additional Illinois plaintiff,

and new plaintiffs from Texas, New Jersey, Florida, North Carolina,

and Maryland. ECF No. 30 at ff 24-32.

      This litigation is closely related to the previously filed

litigation in this Court, Williams v. Big Picture Loans, LLC, No.

3:17-CV-461 ("Williams"). There, the Williams plaintiffs alleged

a usurious loan enterprise designed to evade state usury laws, and

violations of the Racketeer Influenced and Corrupt Organizations

Act, 18 U.S.C. § 1961 et seq. ("RICO"), through a so-called "rent-

a-tribe"    scheme   aimed    at    cloaking   illegal    lending   in   tribal

sovereign immunity. Williams, ECF No. 1.^

      Here, the plaintiffs alleged the same claims as in Williams

(a RICO violation and violations of state lending laws), but as a

putative    class    action    on     behalf   of   additional      plaintiffs




^ And indeed, the Court found in Williams that Martorello, from at
least 2011, owned, directed, and/or controlled several of the key
entities behind the enterprise. Williams, ECF No. 1406 at 4-7.
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representing borrowers from additional states. ECF No. 30 at

213-350. Like the original Complaint in this case, the First

Amended Complaint set out the named plaintiffs as representing

classes of similarly situated plaintiffs based on their respective

states. Id.


      Developments in another related litigation in this Court left

Martorello as the only the defendant remaining in this case. In

Galloway v. Williams, No. 3:19-cv-470, some of the same plaintiffs

sued members of the Lac Vieux Desert Band of Lake Superior Chippewa

Indians Tribal Council, as well as Big Picture and Ascension. After

the plaintiffs settled with Big Picture and Ascension there, the

Court granted their motion to dismiss the claims against Big

Picture and Ascension here. ECF No. 372. That left only Martorello

as a defendant in this case.


      At the outset of this case. Plaintiffs asserted that venue is

proper based on 28 U.S.C. § 1391(b)(2) "because a substantial part

of the events giving rise to the claims occurred in this District."

Id. at H 15. Plaintiffs also argued venue is proper based on RICO,

because 18 U.S.C. § 1965(a) provides that a civil action may be

brought in a district court for "'any district' where a person

'resides, is found, as an agent, or transacts his affairs.'" Id.

(quoting 18 U.S.C. § 1965(a)).

      Martorello made several motions responsive to the Complaint

without objecting to venue. First, Martorello moved to dismiss the
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case for lack of personal jurisdiction and for failure to state a

claim upon which relief could be granted. ECF Nos. 45-46. The Court

denied both motions. ECF No. 382. Then, after the First Amended

Complaint was filed, Martorello renewed both of those motions and

the Court denied them again. ECF Nos. 410, 417; 613, 614. But,

Martorello did not challenge venue. Martorello did file a motion

to transfer this case to the Bankruptcy Court for the Northern

District of Texas, which the Court also denied. ECF Nos. 364, 377.

Again, Martorello did not raise any venue objections.

      After further years of litigation in both this case and

Williams, the Williams plaintiffs succeeded in large part. On June

16, 2023, the Court granted their motion for partial summary

judgment on their § 1962(d) RICO conspiracy claim, and parts of

their § 1962(c) RICO claim, and denied Martorello's defenses that

tribal law    governed    the   loans and    tribal sovereign immunity

shielded them from litigation. Williams, ECF Nos. 1328, 1350, 1373.

The Court entered judgment against Martorello in the amount of

$43,401,817.47, plus interest, on September 22, 2023. ECF Nos.

1406, 1407.


      Because they would be bound by the class judgment in Williams,

the Virginia plaintiffs in this case moved to dismiss their claims

against Martorello in this case. ECF No. 666. Furthermore, during

a conference call held on October 2, 2023, the remaining plaintiffs
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agreed to dismiss every claim other than the RICO violation,^

Transcript of Status Conference Held on October 2, 2023 (EOF No.

675). The Court dismissed those claims without prejudice the same

day. ECF Nos. 674, 678. And it granted the Virginia plaintiffs'

motion to dismiss on October 25, 2023. ECF No. 679. So, all that

remains in this case are thirteen plaintiffs, who are not Virginia

residents, and one claim (the RICO violation) against Martorello.

II. The Instant Motion


       Martorello filed the Motion on October 13, 2023. In effect,

he made two motions: a Motion to Dismiss for Improper Venue; and

a Motion to Transfer Venue.


       a. The Motion to Dismiss for Improper Venue

       In the Motion to Dismiss, Martorello alleges that, because

all of the Virginia plaintiffs are no longer party to the case,

venue is no longer proper. Id. In his supporting memorandum,

Martorello seems to acknowledge that he did not timely object to

venue at the outset. ECF No. 677 at 4. That, of course, constituted

waiver of the venue objection. But, Martorello argues that Fed. R.

Civ. P. 12(g)(2) permits a party to file a later motion to dismiss

on    Rule   12(b)(3)    (venue)   grounds    where     the   defense   was    not

"available" at the time the party filed its earlier motion or




2    The   dismissed    claims   were   the   various    violations     of    each
respective state's usury laws, as well as an unjust enrichment
claim. See ECF No. 30.
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answer. Accordingly, he asserts that the withdrawal of the Virginia

plaintiffs' claims against him made a venue objection "available"

when it previously had not been available. Id. at 4-5.

      First, Martorello argues that there is no longer a basis for

§ 1391(b)(2) "transactional venue." This, says Martorello, is

because, with the withdrawal of the Virginia plaintiffs, it can no

longer be that "a substantial part of the events or omissions

giving rise to the claim occur[ing]" in the district. Id. at 6

(quoting 28 U.S.C. § 1391(b)(2)). The remaining plaintiffs reside

in Texas, California, Indiana, Illinois, Ohio, Washington, New

Jersey, Florida, North Carolina, and Maryland, and the remaining

RICO violation respects conduct in those states. Id. at 7. Not in

the Eastern District of Virginia. According to Martorello, this

change resulted in a newly available venue objection even though

he did not object to venue in his earlier Rule 12 motions. Id. He

argues further that the Court's ability to exercise "pendant venue"

over the non-Virginia plaintiffs is now extinguished. ECF No. 684

at 2-3.


      Second, Martorello contends that the RICO venue provision

does not apply. 18 U.S.C. § 1965(a) provides that a RICO claim may

be brought in any district where a defendant "resides, is found,

has an agent, or transacts his affairs." Similar to his first

argument, Martorello argues that, because the Virginia plaintiffs

are no longer party to this case, Martorello no longer "transacts
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his affairs" here. And that therefore, the RICO venue statute no

longer makes venue proper here. EOF No. 676 at 7.

      In response. Plaintiffs make two arguments addressed to the

Motion to Dismiss for Improper Venue. First, they argue that

Martorello waived his improper venue challenge. Citing Cobalt

Boats, LLC v. Sea Ray Boats, Inc., 254 F. Supp. 3d 836, 838 {E,D.

Va. 2017), Plaintiffs offer that there are only two exceptions to

the general waiver rule under Fed. R. Civ. P. 12(g)(2). ECF No.

681 at 7. One is when there has been an intervening change in the

law giving rise to a venue objection that was not previously

available. The other is when the facts at the time of the filing

of the Rule      12 motions     were   such   that the defendant could not

reasonably    ascertain       the   availability      of   his   improper   venue

defense.   Id.    at   7-8,   Plaintiffs      argue   that   neither   of   these

scenarios apply here.

      On this point. Plaintiffs contend that Martorello could, and

should, have objected to venue as to the claims of the out of state

Plaintiffs at the outset of this case. Id. at 8. Citing a string

of cases, they argue that "it is by now well settled that [venue

and personal jurisdiction] requirements to suit must be satisfied

for each and every named plaintiff [in a class action] for the

suit to go forward." Id. at 8-9 (quoting Abrams Shell v. Shell Oil

Co., 165 F. Supp. 2d 1096, 1107 n.5 (C.D. Cal. 2001)). Then,

Plaintiffs say that it was clear from the face of the Complaint
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and   First     Amended   Complaint   that    there     were   out-of-state

plaintiffs representing out-of-state classes. Id. at 9-10. This is

true, they say, for venue purposes, with respect to both the state

law claims and the RICO claim. Accordingly, under then-existing

law, the out-of-state plaintiffs could not have "piggybacked" on

the proper venue of the Virginia plaintiffs in the first place. So

Martorello had the defense available at the outset and waived it

by not raising it. Id. at 10-11.

      Second,    Plaintiffs   argue   that,   even if    Martorello   could

successfully raise an objection to § 1391(b)(2) transactional

venue, RICO's venue provision still applies.^ Id. at 13. They

contend that, apart from the residence of the remaining Plaintiffs

in this case, Martorello nonetheless "transact[ed] his affairs" in

this district by running the illegal lending scheme in Virginia

beginning in 2011. Id. at 13-14 (quoting 18 U.S.C. § 1965(a)).

They assert that it does not matter whether the transacting of

business relates to the claim.


      b. The Motion to Transfer Venue


      Martorello argues that, even if the Court does not grant the

Motion to Dismiss for Improper Venue, venue should be transferred

to the Northern District of Texas. ECF No. 677 at 7. Citing this




3 The Court may find proper venue under either § 1391 or RICO's
venue provision, 18 U.S.C. § 1965(a); neither is preclusive of the
other. See 28 U.S.C. § 1406(b).
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Court's interpretation of 28 U.S.C. § 1404(a) in Orbital Austl.

Pty Ltd. V. Daimler AG, No. 3:14-cv-808, 2015 WL 4042178 (E.D. Va.

July 1, 2015), he outlines a two-step inquiry for motions to

transfer venue. Id. at 8.        First,    he says that the       Court must

determine   whether   the   action   could    have   been   brought   in   the

proposed transferee forum. Second, the Court should consider: (1)

the plaintiff's choice of forum; (2) the convenience                  of the

parties; (3) access to evidence; (4)             the    convenience of the

witnesses, including third-party witnesses; and (5) the interest

of justice. Id. (citing Samsung Elec. Co. v. Rambus, Inc., 386 F.

Supp. 2d 708, 716 (E.D. Va. 2005)). The parties disagree on whether

the § 1404(a) factors tipped in favor of transfer or not.


                                DISCUSSION


I. Legal Standard

      a. Motions to Dismiss for Improper Venue

      28 U.S.C. § 1391(b)(2) provides that venue is proper in a

judicial district in which a substantial part of the events or

omissions    giving    rise    to    the     claim     occurred   (so-called

"transactional" venue). In addition, in RICO claims, 18 U.S.C. §

1965(a) provides that venue is proper in any district in which an

alleged RICO violator resides, is found, has an agent, or transacts

his affairs. And, "[n]othing in this chapter shall impair the

jurisdiction of a district court of any matter involving a party
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 who does not interpose timely and sufficient objection to the

venue." 28 U.S.C. § 1406(b).

      Fed. R. Civ. P. 12 governs the pleading and waiver of venue.

Rule 12(b) permits a defendant to challenge a plaintiff's chosen

venue as improper. See also Leroy v. Great W. United Corp., 443

U.S. 173, 180 (1979) ("[V]enue is [not] fundamentally preliminary

in the sense that subject-matter jurisdiction is, for [it is a]

personal    privilege []   of   the   defendant,   rather   than   absolute

stricture [] on the court, and . . . may be waived by the parties.") .

However, Rules 12(g)(2) and 12(h)(1) provide that the objection to

venue must be made in the first Rule 12(b) motion or the first

responsive pleading, whichever is first. But, as Martorello says,

Rule 12(g)(2) does limit the objection to defenses that were

"available to the party" at the time of filing. If there is no

 objection to venue, the objection is, generally, waived, but there

 are exceptions.

      Our Court of Appeals recognizes an Intervening Law Exception

 to the    waiver rule. "The     Fourth    Circuit recognizes a general

exception to waiver 'when there has been an intervening change in

 the law recognizing an issue that was not previously available.'"

 Cobalt Boats, 254 F. Supp. 3d at 838 (quoting Holland v. Big River

 Mins. Corp., 181 F.3d 597, 605-06 (4th Cir. 1999)).

      In some cases, waiver can be abrogated by later discovery of

 faulty pleadings or changed facts. For example, in Seidel v. Kirby,

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296 F. Supp. 3d 745 (D. Md. 2017), the original Complaint seemed

to imply that the allegedly defamatory statements at issue were

made in Maryland, the forum state. Id. at 750-51. Therefore, the

defendants     were    not     unreasonable      in   assuming     §   1391(b)(2)

transactional venue applied. Id. When it was revealed later that

the statements were not made in Maryland, the court held that the

defendants did not waive their venue objection, because the defense

was "not available" to them, per the language of Rule 12(g)(2).

Id. at 751.


      However,      in class    actions,      additional   venue   rules   apply.

"[T]he   law   is    clear   that   in   determining    whether    venue   for a

putative class action is proper, courts are to look . . . at the

allegations pertaining to the named representatives." Newbauer v.

 Jackson Hewitt Tax Serv. Inc., No. 2:18-cv-679, 2019 WL 1398172,

at *8 (E.D. Va. Mar. 28, 2019) (emphasis added) (quoting Murdoch

V. Rosenberg & Assocs., LLC, 875 F. Supp. 2d 6, 11 (D.D.C. 2012)).

So, at the outset of a putative class action, proper venue must be

established with respect to each named plaintiff, not just ones

from the forum state. See also Abrams Shell v. Shell Oil Co., 165

 F. Supp. 2d 1096, 1107 n.5 (C.D. Cal. 2001) ("[I]t is by now well

settled that [venue] requirements to suit must be satisfied for

 each and every named plaintiff for the suit to go forward.")

 (emphasis in original) (citing United States ex rel. Sero v.

Preiser, 506 F.2d 1115, 1129-30 (2d. Cir. 1974); Dunn v. Sullivan,

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758 F. Supp. 210, 216 (D. Del. 1991) {"Venue in a class action is

proper for the entire class if it is proper for the named

plaintiffs.") (emphasis added)); see also Magic Toyota, Inc. v.

Se. Toyota Distribs., Inc., 784 F. Supp. 306, 316 (D.S.C. Jan. 21,

1992) ("[P]laintiffs must establish that venue is proper as to

each defendant.") •

        Furthermore, in a RICO case, venue is proper in any district

 where a defendant "transacts his affairs." 18 U.S.C. § 1965(a).

This provision "has been interpreted to require that a defendant

regularly transacts      business     of a substantial and         continuous

character within the district." Magic Toyota, 784 F. Supp. at 319.

 With    respect    to   transactions       of     an   individual      through

corporations, "the court will look to the transaction of corporate

affairs    by   a   defendant   who   has   such    a   large   stake   in   the

corporation that he is in effect transacting his own affairs." Id.

at 320. And, the requirement is that the defendant "transacts his

affairs" in the district on the day the Complaint is filed. Medoil

Corp. V. Clark, 753 F. Supp. 592, 598-99 (W.D.N.C. 1990).

        b. Motions to Transfer Venue


        28 U.S.C. § 1404(a) states that, "[f]or the convenience of

parties and witnesses, in the interest of justice, a district court

 may transfer any civil action to any other district or division

 where it might have been brought or to any district or division to

 which all parties have consented."

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      Courts follow a two-step inquiry when considering § 1404

motions to transfer venue. Williams v. Microbilt Corp., No. 3:19-

cv-85, 2019 WL 7988583, at *20 (E.D. Va. Sept. 23, 2019). "[T]he

movant must establish both: (1) that the plaintiff's claims could

have been brought in the transferee forum; and, (2) that the

interest of justice and convenience of the parties and witnesses

warrant transfer to that forum." Id. (citing Koh v. Microtek Int'l,

Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003)).

      Whether an action could have been brought in the transferee

forum requires the plaintiff to show that, "at the time of the

filing of the action, the [transferee] district court . . . could

have exercised personal jurisdiction over the defendants and the

district was a proper venue for the action without waiver or

consent by the defendants." Nationwide Mut. Ins.               Co. v. The

Overlook, LLC, No. 4:10-cv-69, 2010 WL 2520973, at *2 (E.D. Va.

June 17, 2010) (citing Konthoulas v. A.H. Robins Co., Inc., 745

F.2d 312, 315 (4th Cir. 1984)).

      Having established that an action could have been brought in

the   transferee    forum,   "[d]istrict courts     within   this circuit

 consider four factors when deciding whether to transfer venue: (1)

 the weight accorded to the plaintiff's choice of venue; (2) witness

 convenience and access; (3) convenience of the parties; and (4)

 the interest of justice." Trs. of the Plumbers and Pipefitters



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Nat. Pension Fund v. Plumbing Servs., Inc., 791 F.3d 436, 444 (4th

 Cir. 2015) .


        The first factor is the plaintiff's choice of forum. Normally,

a plaintiff's "choice of venue is entitled to substantial weight

in determining whether transfer is appropriate." Bd. of Trs. v.

Sullivant Ave. Props., LLC, 508 F. Supp. 2d 473, 477 (E.D. Va.

2007). However, courts give less priority to plaintiffs when they

represent a class and when they do not have a connection with the

forum. Owner-Operator Indep. Drivers Ass'n, Inc. v. N. Am. Van

Lines, Inc., 382 F. Supp. 2d 821, 824 (W.D. Va. 2005). But, as

 this Court has held, "so long as there is a connection between the

forum and the plaintiff's claim that reasonably and logically

 supports the plaintiff's decision to bring the case in the chosen

forum," even an out-of-state plaintiff's choice of forum, in a

 class action, is entitled to weight. Samsung, 386 F. Supp. 2d at

 716.


        The second factor is witnesses' convenience and access. This

 "factor looks to which forum better enables witnesses to testify

 in person as ^live testimony is preferred to other means of

 presenting evidence.'" Hengle v. Curry, No. 3:18-cv-100, 2018 WL

 3016289, at *10 (E.D. Va. June 15, 2018) (quoting Samsung, 386 F.

 Supp. 2d at 718) . The "convenience of non-party witnesses takes

 priority over that of party witnesses." Id. (citing Samsung, 386

 F. Supp. 2d at 718). The party "asserting witness inconvenience

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has the burden to proffer, by affidavit or otherwise, sufficient

details respecting the witnesses and their potential testimony to

enable the court to assess the materiality of evidence and the

degree of inconvenience." Koh, 250 F. Supp. 2d at 636. Without

that kind of proof, the Court cannot ascertain the issue of

convenience in any meaningful way. Williams, No. 3:17-cv-461, 2020

WL 1879675, at *4 {E.D. Va. Apr. 15, 2020).

      The third factor is convenience of the parties. In assessing

the parties' convenience, courts consider (1) "the ease of access

to sources of proof," (2) "the cost of obtaining the attendance of

witnesses,"    and   (3) "the   availability of     compulsory process."

Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 633

 {E.D. Va. 2006) (quoting Samsung, 386 F. Supp. 2d at 717 n. 13).

      The fourth factor is the interest of justice. The interest of

justice facet "relates to the efficient administration of the court

system" and "encompasses public interest factors aimed at systemic

integrity and fairness." Intellor Grp. V. Cicero, No. TDC-19-10,

 2019 WL 1643549, at *6 (D. Md. Apr. 16, 2019). "Most prominent

among the elements of systemic integrity are judicial economy and

 the avoidance of inconsistent judgments." Byerson, 467 F. Supp. 2d

 at 635. "One of the most commonly cited aspects of the interest of

 justice factor is the goal of avoiding multiplicity of litigation
 from a single transaction." Samsung, 386 F. Supp. 2d at 721.

 Sometimes, "[t]he interests of justice may be decisive in ruling

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on a transfer motion, even though the convenience of the parties

and witnesses point in a different direction." Id. at 716.

II. Analysis

       a. Afotion to Dismiss


            1. Venue under 28 U.S.C. § 1391(b)(2): "^^Transactional
            Venue"


       Martorello does not contend that he timely objected to venue

when this case was originally filed. Instead, he focuses on the

fact that the Virginia plaintiffs have been dismissed from the

suit. According to him, their dismissal has made "available" a

defense that was not "available to [him]" when he filed his first

Rule 12 motions. This argument fails.

       The objection to § 1391(b)(2) "transactional" venue               was

available to Martorello when he filed his original and renewed

Rule 12 motions. It is true that, as originally filed, proper venue

in this forum was based on the Virginia plaintiffs, and that link

has dissolved. However, following the plain language of Newbauer,

 2019 WL 1398172, at *8        ("[T]he law is clear that in determining

 whether venue for a putative class action is proper, courts are to

look    .   .   .   at   the   allegations   pertaining    to   the   named

 representatives."), Abrams Shell, 165 F. Supp. at 1107 n.5 ("[I]t

 is by now well settled that [venue] requirements to suit must be
 satisfied for each and every named plaintiff for the suit to go

 forward."), Dunn, 758 F. Supp. at 216 ("Venue in a class action is


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proper for     the   entire   class   if   it is   proper for    the   named

plaintiffs.") / and Magic Toyota, 784 F. Supp. at 316 ("[P]laintiffs

must establish that venue is proper as to each defendant."), it

was Plaintiffs' burden to establish venue with respect to each

named plaintiff, not just the Virginia ones. Both the Complaint

and the First Amended Complaint were clear that this was a putative

class action. And both were clear that each named plaintiff was

suing on behalf of themselves and classes made up of borrowers

from their respective states. Thus, an improper venue objection

was "available" to Martorello when the Complaint and First Amended

Complaint were filed, following Rule 12(g)(3).

      No other exception applies. Although the Court of Appeals

made it clear that where a change in the law intervenes since a

 waiver of venue, a venue objection becomes newly available, no

such change has happened here. Cobalt Boats, 254 F. Supp. 3d at

838; Holland, 181 F,3d at 605-06. Martorello does not assert any

legal changes. He asserts merely that there are "changed facts."

 ECF No. 684 at 2.


      However, none of the cases on which Martorello relies support

 a newly available venue objection based on changed facts. For

 example, Martorello cites to Seidel for the proposition that a

 venue objection becomes available when it was unknown at the

 beginning of the case. ECF No. 677 at 4. But, in that case,

 defamatory statements were later revealed not to have occurred in

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the forum state after all. The defendants had no reason to know

that at the time the original Complaint was filed, therefore the

revelation gave rise to an objection to § 1391(b)(2) transactional

venue. See 296 F. Supp. 3d at 750-51. Those facts are not analogous

 to the facts in this case. Here, nothing that was previously

 unknown became known later: the plaintiffs were simply pared down.

      Martorello    also   cites   to    Kaspers   v.   Howmedica   Osteonics

 Corp., No. C15-0053JLR, 2015 WL 12085853 (W.D. Wash. Oct. 23,

 2015), to argue that the "changed case landscape" applies to this

 case as it did there. EOF No. 677 at 4-5. In fact, Martorello

 argues that this case has changed so much as to make available a

 previously unavailable defense. But this argument misses the mark,

 too. The    case   in   Kaspers had been severed,         transferred, and

 whittled down from fourteen plaintiffs asserting claims based on

 nine medical implants to two plaintiffs asserting claims based on

 one implant. 2015 WL 12085853, at *2-4. By contrast, here, only

 four plaintiffs have withdrawn, leaving thirteen, in the original

 forum in which the case was brought. And, the motion at issue there

 was a Rule 12(b)(6) motion, not a 12(b)(3) venue motion, as here.

 Id. at *3. The court was able to treat that as a motion for judgment

 on the pleadings, a significant circumstance not present here. Id.

 at *4. Because this case remains essentially the same, and because

 Martorello could have objected to Plaintiffs "piggybacking" the



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out-of-staters'         venue   on   the   in-staters',    he   waived      any   venue

objections and § 1391 venue is proper for the remaining Plaintiffs.

            2. Venue Under 28 U.S.C. § 1965(a): "KJCO Venue"


      Even if this case could be dismissed for improper venue under

§ 1391(b)(2), venue is still proper under 28 U.S.C. § 1965(a), the

RICO venue provision. § 1965(a) provides that, in a RICO case,

venue is proper in any district where a defendant "transacts his

affairs." Martorello argues that "the transactions that Plaintiffs

allege    are    relevant       rest   solely on       connections     to    Virginia

consumers that are no longer at issue in this case." ECF No. 677

at 7. But that does not matter. Magic Toyota and Medoil make clear

that there is no requirement that the transacting of affairs must

relate to the claims at issue in the case. See Magic Toyota, 784

F. Supp. at 319 (holding only that § 1965(a) "has been interpreted

to require that a defendant regularly transacts business of a

substantial       and    continuous        character   within    the     district");

Medoil, 753 F. Supp. at 598-600 (declining, in an in-depth analysis

of the RICO venue statute, to even assess whether the affairs must

relate to the subject matter of the suit).

      And, Martorello, in fact, did transact his affairs in the

 Eastern District of Virginia. The Court found that Martorello

 helmed the illegal lending enterprise--in the Eastern District of

 Virginia--from 2011 through at least 2018, when this case was

 filed.         Williams, ECF No. 1406 at 4-7; Medoil, 753 F. Supp. 592

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("[I]n order to demonstrate venue under the phrase "transacts his

affairs", the plaintiff must show that the defendant is transacting

his affairs in the district where the suit is initiated on the day

the complaint is filed,"}. So, the RICO venue provision applies

here.


      Jb. Motion to Transfer Venue


      In      the    alternative,         Martorello     moves   that     the    case    be

transferred         to    the    Northern     District     of    Texas.     Given    that

Plaintiffs do not consent to transfer, we turn to the two-part

test set out in Microbilt, 2019 WL 7988583, at *20. The first part

asks whether the case could have been brought in the Northern

District of Texas. It could have. Martorello resides there, meaning

for either § 1391 transactional venue or § 1965(a) RICO venue, it

 would have been proper (as would personal jurisdiction) . So the

analysis turns next to part two: whether "the interest of justice

and convenience of the parties and witnesses warrant transfer to

that forum." Microbilt, 2019 WL 7988583, at *20.

        Our   Court      of     Appeals    has    instructed     district       courts   to

consider: "(1) the weight accorded to the plaintiff's choice of

 venue; (2) witness convenience and access; (3) convenience of the

 parties;      and       (4)    the   interest      of    justice."     Plumbers         and

 Pipefitters, 791 F.3d at 444. The Court addresses each factor in

 turn.




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       First, it is true that the traditional rule that great weight

is afforded to the plaintiffs' choice of venue does not apply-

where, as here, the plaintiffs represent a class and the venue is

not    their   home.    See   Owner-Operator,      382   F.   Supp.     2d    at   824

 {"Although    the     plaintiff's     choice   of   forum    is   to    be    given

considerable deference by the court where that forum is also the

district in which he resides and where a close nexus exists between

that forum and the plaintiff's underlying claims, less deference

is given to the plaintiff's choice of forum where that plaintiff

represents a class."). But, this Court has held in Samsung that

"even then, the plaintiff's choice of forum is certainly a relevant

consideration so long as there is a connection between the forum

and the plaintiff's claim that reasonably and logically supports

the plaintiff's decision to bring the case in the chosen forum."

386 F. Supp. at 716.

       That is the case here. This case has been ongoing in this

 Court for over five          years.    It is    closely related         to other

litigation in this Court, also ongoing for years. Without question,

 there exists a connection between this forum and Plaintiffs' claim,

 writ large. Moreover, Plaintiffs, the Court, and Martorello have

 all   been litigating it        here    without     any concern        for venue.

 Therefore, Plaintiffs' choice of venue in this Court is entitled

 to sufficient weight, as to augur against transfer.



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      Second, the convenience of witnesses is a neutral factor.

Although preference should be given to in-person testimony and

non-party witnesses' convenience over party witnesses', following

Hengle, 2018 WL 3016289, at *10, most witnesses have already

testified in this case by way of deposition, and both parties

anticipate that further testimony will be done by way of deposition

too. Moreover, only one Plaintiff resides in Texas. This only tips

the scale slightly towards the Northern District of Texas for

witness convenience, and that is assuming the very big assumption

that that Plaintiff would even testify. Although Martorello and

his brother Justin may testify, their party status renders their

 testimony less important than other witnesses. See id. {citing

Samsung, 386 F. Supp. 2d at 718 ("[T]he convenience of non-party

 witnesses takes priority over that of party witnesses."). Other

non-party witnesses would have to travel either way. So, on

 balance, this factor is neutral.

      Third,   convenience    of   the    parties   tips   slightly towards

 transfer. Assessing the three Byerson considerations (the ease of

 access to sources of proof, the cost of obtaining the attendance

 of witnesses, and the availability of compulsory process), 467 F.

 Supp. 2d at 633, reveals that neither district is more or less
 preferable to Plaintiffs. Most of the evidence is electronic and

 already discovered. Further, other witnesses (if any) will likely

 have to travel to either district. Compulsory process does not

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apply. But, Martorello resides in the Northern District of Texas.

So it would be more convenient for him. So, this factor weighs

slightly toward transfer.

      Fourth, and finally, the interest of justice weighs heavily

against transfer. The interest of justice is the most important

factor in this case: "In some cases, 'the interest of justice may

be decisive in ruling on a transfer motion, even though the

convenience of the parties and witnesses point in a different

direction.'" Byerson, 467 F, Supp. 2d at 635 (quoting Samsung, 386

F. Supp. 2d at 716) . "Efficient administration of the court system"

and "encompass[ing] public interest factors aimed at 'systemic

 integrity and fairness'" would be much better served by keeping

 this case in this district rather than transferring it at this

 late juncture. Intellor Group, 2019 WL 1643549, at *6; Byerson,

467 F. Supp. 2d at 635 (quoting Samsung, 386 F. Supp. 2d at 716).
      As discussed, this case has been underway in this Court for

 over five years. As of December 13, 2023, there have been 689

 filings. Moving this case to a new district would be an upheaval

 of dramatic proportions. One of the most important ends of justice

 is "the goal of avoiding multiplicity of litigation from a single
 transaction." Samsung, 386 F. Supp. 2d at 721. That objective is

 served by declining to transfer a case as dense and complex as

 this one to a new district at this stage of the case. So, this

 factor weighs heavily in favor of denying the motion to transfer.

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And this factor weighs the heaviest in the analysis. See Samsung,

386 F. Supp. 2d at 716.

      On balance, therefore, the first factor weighs in favor of

denying the motion, the second factor is neutral, the third factor

weighs in favor of granting the motion, and the fourth and most

important factor weighs heavily in favor of denying the motion.

Therefore, the Court will not grant the motion to transfer venue

to the Northern District of Texas.



                                CONCLUSION


      For the reasons set forth above, and on the record during the

hearing on November 16, 2023, Defendant MARTORELLCS MOTION TO

DISMISS FOR IMPROPER VENUE OR, ALTERNATIVELY, TO TRANSFER VENUE

(ECF No. 676) is hereby denied.

      It is so ORDERED.




                                                /s/

                              Robert E. Payne
                              Senior United States District Judge

 Richmond, Virginia
 Date: December A, 2023




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